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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   JOHN AND JANE DOE,

                  Plaintiffs,

   v.                                                   Case No. 3:22-cv-49-RSB-JCH

   JOSHUA MAST, et al.,

                  Defendants.


        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR ATTORNEY’S FEES
               PURSUANT TO THE COURT’S ORDER OF CONTEMPT

         Joshua and Jonathan Mast offer differing rationales for why the Court should not award

  Plaintiffs the reasonable attorney’s fees they incurred in establishing Joshua’s and Jonathan Mast’s

  violations of this Court’s September 13, 2022 Protective Order (ECF No. 26) (the “Protective

  Order”). Each of their arguments in opposition to Plaintiffs’ Motion for Attorney’s Fees Pursuant

  to the Court’s Order of Contempt (“Contempt Fee Motion”) (ECF No. 489) lacks merit.

                                      Joshua Mast’s Arguments

         Joshua Mast does not dispute that the time and fees set forth in Plaintiffs’ Contempt Fee

  Motion are reasonable. Rather, he essentially seeks reconsideration of the Court’s refusal to lift

  the Protective Order he violated, again (and inaccurately) referring to it as a “gag order” that

  purportedly violates his constitutional rights. See Def. Joshua Mast’s Response to Pls.’ Mot. for

  Attorney’s Fees (ECF No. 499) at 4. This Court soundly rejected those arguments in a lengthy and

  thorough analysis. See Mem. Op. & Order (ECF No. 473) (the “Contempt Order”) at 5–23. Joshua,

  Stephanie, and Richard Mast have appealed that Order to the Fourth Circuit—though that appeal




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  focuses on the validity of the Protective Order rather than this Court’s determination that Joshua

  and Jonathan violated it. See No. 24-1900, Dkt. No. 10 (4th Cir. Oct. 2, 2024).

         Recognizing that “the Court may not be inclined to reconsider these matters in the context

  of this fee motion,” Joshua Mast suggests that the Court nonetheless “defer consideration of

  Plaintiffs’ fee motion until that appeal resolves.” ECF No. 499 at 4–5. Plaintiffs agree that his

  payment of fees can await resolution of the appeal, but the appeal need not delay this Court’s

  determination of fees.1

         Next, Joshua Mast raises several arguments that largely mirror those he asserted in

  opposition to Plaintiffs’ Motion for Attorney’s Fees (ECF No. 461) in response to a discovery

  sanction imposed by the Court (“Sanctions Fee Motion”). These recycled arguments have not

  improved with time.

         For example, Joshua Mast again notes that “[b]oth sides in this litigation are receiving pro

  bono representation.” ECF No. 499 at 6; see also Joshua and Stephanie Mast’s Response to

  Plaintiffs’ Motion for Attorney’s Fees (ECF No. 484) at 2, 5. But, because an award of attorney’s

  fees is intended to compensate for the “attorney’s fees incurred because of the misconduct at

  issue,” it is irrelevant that the parties are represented by pro bono counsel. See De Simone v. VSL

  Pharms., Inc., 36 F.4th 518, 536 (4th Cir. 2022) (quoting Goodyear Tire & Rubber Co. v. Haeger,

  581 U.S. 101, 108 (2017)). The Fourth Circuit consistently has held that “entities providing pro

  bono representation may receive attorney’s fees.” See Brinn v. Tidewater Transp. Dist. Comm’n,

  242 F.3d 227, 234 (4th Cir. 2001); see also Blum v. Stenson, 465 U.S. 886, 893–95 (1984)

  (affirming use of prevailing market rates to calculate fee award to Legal Aid Society in civil rights

  action); Alexander S. ex rel. Bowers v. Boyd, 929 F.Supp. 925, 928–29 (D.S.C.1995), aff’d sub



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             Notably, Jonathan Mast is not appealing the Court’s Contempt Order.
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  nom. Burnside v. Boyd, 89 F.3d 827 (4th Cir. 1996) (awarding attorney’s fees for pro bono

  representation). Joshua Mast does not dispute that Plaintiffs’ fee petition presents the reasonable

  value of the services provided by Plaintiffs’ counsel and, thus, the cost to Plaintiffs and their

  counsel caused by Joshua and Jonathan Mast’s contempt.

         Next, Joshua Mast ignores the compensatory aspect of contempt sanctions, instead positing

  that either no fees or a significantly reduced fee award would be reasonable to deter any future

  misconduct. See ECF No. 499 at 6–7. But sanctions for civil contempt “must be remedial and

  compensatory,” which “include[s] ordering the contemnor to reimburse the complainant for losses

  sustained and for reasonable attorney’s fees.” Contempt Order at 37 (quoting In re Gen. Motors

  Corp., 61 F.3d 256, 258 (4th Cir. 1995)) (emphasis added). “An award of ‘attorney’s fees incurred

  because of the misconduct at issue’ is compensatory.” De Simone, 36 F.4th at 536.

         Finally, even as he admits that Plaintiffs’ fee requests are not “unreasonable on their own,”

  Joshua Mast again argues that the Court should ignore the reasonable, significant time and expense

  incurred by Plaintiffs to litigate the contempt issue and instead impose a mere $1,000 sanction.

  That amount, he contends, would be “commensurate” with a sanction imposed in the state-court

  litigation for an unrelated issue involving a question of attorney-client privilege for a single

  document. ECF No. 499 at 8. But, as Plaintiffs noted in response to the same argument made in

  opposition to their Sanctions Fee Motion, there is no basis for this proposed “tit-for-tat” sanction

  formulation. Plaintiffs’ Reply in Support of Motion for Attorney’s Fees (ECF No. 485) at 1–2. Nor

  is there any equivalency between Plaintiffs’ initial assertion of privilege—described by this Court

  as “reasonable based on the limited information their attorneys had at the time”—and Joshua and

  Jonathan’s violation of the Court’s Protective Order. See id. (quoting ECF No. 376 at 40).




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                                      Jonathan Mast’s Arguments

         While Joshua Mast has no quarrel with the work and fees reflected in Plaintiffs’ fee

  petition, Jonathan Mast advances three arguments questioning some of the time and fees recorded

  by Plaintiffs. None has merit. He also raises—in arguments that do not question Plaintiffs’

  requested fees—disputes about fee apportionment and the relevance of “willful disobedience” in

  the Court’s decision to assess attorneys’ fees.

         First, Jonathan Mast argues that Plaintiffs “seek the same partner-level hourly rate for all

  tasks.” Jonathan Mast’s Response in Opposition to the Plaintiffs’ Motion for Attorney’s Fees (ECF

  No. 500) at 3. This argument can be disposed of easily, as Plaintiffs’ time entries reflect that lower-

  billing associates and a paralegal accounted for almost 30% of the time included in the fee request.

  ECF No. 490-2; ECF No. 490 at 7; see also For Life Prods., LLC v. Virox Tech. Inc.,

  1:20CV00016, 2022 WL 3010480, at *4 (W.D. Va. July 29, 2022) (finding reasonable a lodestar

  figure based on 1,018 hours divided between two partners, one associate, and two paralegals spent

  investigating misconduct and litigating sanctions motion).

         Second, Jonathan Mast argues that the requested fees are “excessive,” but points to only

  one specific example: Mr. Powell’s recording of 56 hours to prepare for Jonathan Mast’s

  deposition.2 Jonathan Mast argues that “[t]he value of the deposition was questionable, if not

  minimal, in that it most involved questions and answers that proved immaterial [to] the

  presentation before the Court . . . .” ECF No. 4–5. And he asserts that “[t]here was no evidence

  produced by Jonathan Mast to review or prepare to defend against at the hearing.” Id.




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         Jonathan Mast also assets that “certain entries . . . likely include purely clerical tasks,”
  ECF No. 500 at 3, but fails to identify any such entries.

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         Those remarkable assertions cannot be squared with the record. Plaintiffs’ pre-hearing

  submission cited to 46 pages of Jonathan Mast’s deposition testimony. See Pls.’ Pre-Hearing Brief

  (ECF No. 403) at 403-6. And the Court cited to numerous pages of Jonathan Mast’s deposition in

  its Contempt Order. See ECF No. 473 at 28 n.26, 29 n.28, 30 n.40, 31 nn.41 & 43, 32 n.44. Jonathan

  Mast’s deposition was central to the Court’s finding that he and Joshua Mast were in contempt.

         Third, Jonathan Mast disputes alleged “block-billing” within Plaintiffs’ fee petition. In

  support of this argument, he primarily cites to district court cases from California, Florida, and

  Oregon, which use different, jurisdiction-specific block-billing definitions and discounting rules.

  He also proposes rules, not adopted by any Virginia court, that (a) “time entries of 4 or more hours

  each for one task,” (b) time “recorded in full hour blocks,” and (c) time entries “rounded to the

  half hour” constitute improper “block billing”. ECF No. 500 at 6. Plaintiffs are not aware of any

  court within the Fourth Circuit that has adopted such rules. Nor does Jonathan Mast identify any.

         The only Virginia case Jonathan Mast cites in his block-billing argument is Guidry v.

  Clare, 442 F. Supp. 2d 282, 294 (E.D. Va. 2006), for which he provides a selective reading. In

  Guidry, a plaintiff brought ten state and federal claims. Id. Because the court determined that eight

  claims, plus a portion of another, were frivolous—thus warranting the imposition of attorney’s

  fees—the court sought to parse which of defense counsel’s time entries corresponded to defending

  the frivolous claims. Id. The court first reduced the fee award because defense counsel’s time

  entries did not distinguish between the time spent on frivolous claims and the time spent on

  meritorious claims. Id. Within the context of these partially compensable entries, block-billing—

  described as “lumping” a “number of tasks . . . together for a single block of time”—resulted in

  additional reductions because “it prevents an accurate determination of the reasonableness of the

  time expended.” Id.



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         Unlike Guidry, all of the time entries in Plaintiffs’ fee petition correspond to prosecuting

  the show-cause motion that led to the Court’s finding of contempt. As Plaintiffs explained in their

  Contempt Fee Motion, they excluded any time related to matters on which they were unsuccessful,

  such as litigating the Pipe Hitter Foundation’s motion to quash and litigation of a separate show-

  cause motion filed against Joshua and Stephanie Mast regarding a CBS interview. ECF No. 490 at

  5–6; ECF No. 490-1 at ¶ 7. Thus, there is no difficulty here of distinguishing between compensable

  and non-compensable time entries.

         Additionally, none of the fee entries that Jonathan Mast disputes “lumped” multiple tasks

  into a single entry. Rather, each entry he cites indicates the specific subject matter on which the

  attorney worked, and can therefore be assessed for reasonableness “based on the trial court’s

  familiarity with the case, its complexity, and the counsel involved.” See Guidry, 442 F. Supp. 2d

  at 294. And the 348 overall hours Plaintiffs spent prosecuting the Show Cause is proportional to

  fee awards granted in similar cases. See, e.g., ECF No. 490 at 10–11.

         Fourth, Jonathan Mast asserts two arguments that do not challenge the requested fees. One

  argument suggests “willful disobedience” should be a relevant factor in this Court’s decision to

  assess attorney’s fees. The other pertains to apportioning fees between himself and Joshua Mast.

         Jonathan Mast incorrectly suggests that this Court should consider “willful disobedience”

  in awarding attorneys’ fees for civil contempt. While (correctly) noting that a trial court has

  discretion to award or deny attorney’s fees in civil contempt actions, Jonathan Mast emphasizes

  that “a court may assess attorneys’ fees as part of the fine to be levied on the contemnor for the

  ‘willful disobedience’ of a court order.” See ECF No. 500 at 1 (quoting Alyeska Pipeline Serv. Co.

  v. Wilderness Soc’y, 421 U.S. 240, 258 (1975)) (emphasis in brief). He then specifies that “a

  contemnor’s refusal to comply with a court order must rise to the level of obstinacy, obduracy or



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  recalcitrance to satisfy the ‘willful disobedience’ standard.” See Omega World Travel, Inc. v.

  Omega Travel and Shipping Agencies, Inc., 905 F.2d 1530, 1990 WL 74305, at *4 (4th Cir. 1990).

         Jonathan Mast misplaces his emphasis on “willful” disobedience. The Fourth Circuit has

  “never required district courts to find a party’s willful disobedience before awarding attorneys’

  fees.” De Simone, 36 F.4th at 536. The Fourth Circuit instead emphasizes trial court discretion: “a

  court may assess attorneys’ fees” for the willful disobedience of a court order. See Alyeska, 421

  U.S. at 258 (emphasis added). Accord De Simone, 36 F.4th at 536 (“[In Omega], we said that

  courts ‘may assess attorneys’ fees’ when a party willfully disobeys an order.”) (emphasis in

  original). “[T]he power to award fees for willful disobedience doesn’t ‘take away the inherent

  authority of a court to award attorneys’ fees in a civil contempt proceeding.’” Id. The Court need

  not consider willful disobedience in assessing fees.

          Regarding apportionment, Jonathan Mast argues that he should not be responsible for fees

  he asserts are “unattributable to Jonathan Mast or [Plaintiffs’] efforts seeking to hold him in

  contempt.” ECF No. 500 at 7. In support, he identifies seven time entries for Mr. Elliker, id.,

  apparently because those time entries did not specifically refer to Jonathan Mast. He ignores,

  though, that those time entries referred to the entity through which Jonathan Mast violated the

  Protective Order (the Pipe Hitter Foundation) or referred to Jonathan Mast’s co-conspirator in the

  violation of the Protective Order. Id.

         In addition, Jonathan Mast argues that the Court should apportion fees between him and

  Joshua Mast depending on their individual levels of culpability. ECF No. 500 at 8. Plaintiffs do

  not take a position as to the apportionment of fees between Joshua Mast and Jonathan Mast, other

  than to note that the Court found both in contempt. ECF No. 473. The Court found that both “had

  actual and constructive knowledge” of the Protective Order; that “Joshua and Jonathan each, by



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  their conduct, violated the terms of the decree and had at least constructive knowledge of such

  violations”; and that neither Joshua nor Jonathan Mast “established that they took in good faith all

  reasonable steps to comply with the Protective Order.” Id. at 37 (emphasis added). Finally, the

  Court found an award of reasonable attorney’s fees was “the least possible power necessary to

  ensure Joshua and Jonathan Mast’s compliance with the Protective Order.” Id. (emphasis added).

                                              Conclusion

         Plaintiffs respectfully ask the Court to grant Plaintiffs’ fee request.


  Dated: October 18, 2024                       Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 18th day of October, 2024, I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

   to all CM/ECF participants.

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